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 7                                   UNITED STATES DISTRICT COURT
 8                                   EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                          NO. CR. S-13-00330-KJM
11                      Plaintiff,
12          v.                                          TRIAL CONFIRMATION ORDER
13   JOHN JAMES KASH,
14                      Defendant.
15

16          The trial in the above-captioned case, scheduled to commence on November 9, 2015, at
17   9:00 a.m., was confirmed at the trial confirmation hearing held on August 26, 2015. In
18   preparation for the upcoming trial, the court hereby ORDERS:
19          I.      TRIAL BRIEFS AND STATEMENT OF THE CASE
20          No later than November 2, 2015, the parties may file trial briefs and the government shall
21   file a statement of the case with the court. In their trial briefs, the parties shall include a summary
22   of points of law, including reasonably anticipated disputes concerning admissibility of evidence,
23   legal arguments, any other information the parties believe is relevant, and citations of authority in
24   support thereof. In lieu of a statement of the case, the parties may file a joint proposed jury
25   instruction that can be read to the jury in advance of voir dire that explains the nature of the case.
26          II.     PROPOSED JURY INSTRUCTIONS
27          The parties are informed that the court has prepared a standard set of standard jury
28   instructions. In general, they cover all aspects of the trial except those relating to the charges
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 1   contained in the charging document. Accordingly, counsel need not prepare instructions
 2   concerning matters within the scope of the prepared instructions. A copy of the prepared
 3   instructions has been provided to the parties following the trial confirmation hearing. The parties
 4   are further directed that their specific proposed jury instructions shall be filed no later than
 5   November 2, 2015. As to any instructions a party desires to offer, the proposing party shall also
 6   submit a sanitized copy in Microsoft Word format via email to: kjmorders@caed.uscourts.gov.
 7   III.    PROPOSED VOIR DIRE QUESTIONS AND VERDICT FORM
 8           The parties may file proposed voir dire questions no later than November 2, 2015. In
 9   addition, the government shall file a proposed verdict form. Any proposed voir dire questions
10   and the proposed verdict form shall also be submitted in Microsoft Word format via email to:
11   kjmorders@caed.uscourts.gov.
12           IV.    MOTIONS IN LIMINE
13           The parties shall file with the court motions in limine, if any, no later than October 14,
14   2015. To the extent practicable, the parties are directed to meet and confer before filing a motion
15   to determine if agreement can be reached or the scope of a motion narrowed before filing. Any
16   motion filed shall contain a plain, concise summary of any reasonably anticipated disputes
17   concerning admissibility of evidence, including but not limited to, live and deposition testimony,
18   physical and demonstrative evidence and the use of special technology at trial, including
19   computer animation, video discs, and other technology. Any opposition briefs to the motions in
20   limine shall be filed no later than October 21, 2015. The court will advise the parties which
21   motions it will resolve before trial after argument on October 28, 2015 at 9:00 a.m.
22           V.     EXHIBIT LIST AND WITNESS LIST
23           The government shall, and the defendant may, file exhibit and witness lists no later than
24   November 2, 2015. Exhibit lists shall also be submitted in Microsoft Word format via email to:
25   kjmorders@caed.uscourts.gov.
26           All exhibits should be pre-marked with exhibit stickers provided by the court. The
27   government’s exhibits shall be numbered. Should the defendant elect to introduce exhibits at
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 1   trial, such exhibits shall be designated by alphabetical letter. The parties may obtain exhibit
 2   stickers by contacting the clerk’s office at (916) 930-4000.
 3          VI. MISCELLANEOUS
 4          The parties are referred to the additional information available in the standing orders
 5   available online at the judge’s homepage.
 6          The court requests that Mr. Foster, stand-by counsel for Mr. Kash, assist Mr. Kash in
 7   meeting the obligations of providing documents in electronic form, to the extent applicable to any
 8   document Mr. Kash wishes to file, and in obtaining exhibit stickers prior to trial to the extent
 9   needed.
10          The court also requests that Mr. Foster deliver a copy of this order to Mr. Kash promptly.
11          The court further directs the Clerk of the Court to serve a copy of this order on Mr. Kash
12   by mail at the most recent address he has provided the court.
13   DATED: August 27, 2015.
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                                                  UNITED STATES DISTRICT JUDGE
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